Case 3:20-cv-04688-RS   Document 268-3   Filed 11/14/22   Page 1 of 6




   EXHIBIT 2
     Case 3:20-cv-04688-RS Document 268-3 Filed 11/14/22 Page 2 of 6
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1             UNITED STATES DISTRICT COURT
2            NORTHERN DISTRICT OF CALIFORNIA
3
4      ANIBAL RODRIGUEZ, et al.,
5                   Plaintiffs,
6      v.                                          Case No.
7      GOOGLE LLC,                           20-cv-04688-RS
8                   Defendant.
9
              *************************************
10          HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
            ZOOM VIDEOTAPED DEPOSITION OF DAVID MONSEES
11                   Thursday, September 15, 2022
                           9:00 a.m. PST
12            *************************************
13
14
15     TAKEN BY:
16           MARK MAO, ESQ.
             ATTORNEY FOR PLAINTIFF
17
18     REPORTED BY:
19           BELLE VIVIENNE, RPR, CRR, NJ-CRR,
             WA/CO/NM-CCR
20           NATIONALLY CERTIFIED REALTIME
             COURT REPORTER
21           VERITEXT LEGAL SOLUTIONS
             JOB NO. 5431690
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     Case 3:20-cv-04688-RS Document 268-3 Filed 11/14/22 Page 4 of 6
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1          Q.     Oh, okay.     Great.                        07:42:15

2                 Let me try a different document.            07:42:18

3     Give me a second here.                                  07:42:24

4                 (Exhibit P-44, Article entitled             07:42:26

5          Obfuscating GAIA ID in WAA-off Logs,               07:42:26

6          marked for identification.)                        07:42:26

7     BY MR. MAO:                                             07:42:26

8          Q.     Let me introduce Exhibit 44.                07:42:57

9     When you have it, please take a look.                   07:42:58

10         A.     Okay.     All right.      This is a         07:43:33

11    fairly lengthy document.         Is there a --          07:43:33

12    and -- and its font is very small on my                 07:43:37

13    screen.    Is there a -- a particular area I            07:43:39

14    should focus in that I can determine if                 07:43:42

15    there's other aspects to review?                        07:43:43

16         Q.     Yeah.     I -- I -- I -- my                 07:43:46

17    questions on this are actually fairly                   07:43:47

18    discrete, which is that, like if you look               07:43:53

19    at 271 -- well, first of all, it sounds                 07:43:55

20    like you are familiar with this document,               07:43:58

21    right?                                                  07:43:59

22         A.     Yes, I am familiar with this.           I   07:43:59

23    believe I was a contributor this document.              07:44:02

24         Q.     Got it.     That -- that's --               07:44:04

25    that's helpful to know.                                 07:44:05

                                                              Page 258

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     Case 3:20-cv-04688-RS Document 268-3 Filed 11/14/22 Page 5 of 6
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1                 Do you see the background                   07:44:06

2     section there?                                          07:44:08

3          A.     Yes, I do.     Give me a minute to          07:44:10

4     review.                                                 07:44:13

5          Q.     Yeah.     Please.                           07:44:13

6          A.     Okay.     Thank you.      I've had a        07:44:42

7     chance to read that section.                            07:44:44

8          Q.     Yeah.     You see at the very               07:44:49

9     bottom there, it says "Note:            There are       07:44:51

10    multiple efforts blocked by the WAA-off                 07:44:56

11    logging changes (Assistant for work GA                  07:44:59

12    launch, Home/work launch in Maps,                       07:45:02

13    Assistant feature launches)."            How did --     07:45:05

14    do you know how this logging change                     07:45:13

15    affected GA?                                            07:45:16

16         A.     I -- I believe GA in this                   07:45:23

17    context stands for Google Apps which was                07:45:25

18    the name for Google Workspaces before.                  07:45:29

19    It's also been called Google Enterprise.                07:45:33

20    I apologize for Google because that suite               07:45:35

21    has changed names quite a bit.             There's no   07:45:38

22    relationship between this project and                   07:45:41

23    Google Analytics for Firebase.                          07:45:42

24         Q.     Got it.     So the GA here stands           07:45:45

25    for Google Apps you said.          And what is          07:45:48

                                                              Page 259

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     Case 3:20-cv-04688-RS Document 268-3 Filed 11/14/22 Page 6 of 6
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1     Google Apps?                                           07:45:53

2          A.      Google Apps is a former name for          07:45:56

3     Google Workspaces and may have also been               07:46:00

4     called Google Apps for Enterprise at a                 07:46:03

5     period of time and this would you include              07:46:07

6     the suite of products, like Gmail,                     07:46:08

7     Calendar, Drive, Docs, Sheets, Keep,                   07:46:11

8     et cetera.                                             07:46:14

9          Q.      Got it.     So this -- this change        07:46:15

10    in obfuscating GAIA IDs and WAA-off logs               07:46:27

11    did not impact Google Analytics; is that               07:46:37

12    correct?                                               07:46:39

13         A.      Correct.     This -- this project         07:46:40

14    solely impacts Google Search stack which               07:46:42

15    includes Maps and Assistant.             It has        07:46:46

16    nothing to do with Google Analytics for                07:46:49

17    Firebase.                                              07:46:51

18         Q.      What about Google Ads on mobile?          07:46:52

19         A.      The -- (cross talk).                      07:46:57

20         Q.      Sorry.     Go ahead.                      07:46:58

21         A.      Yeah, there's -- there's no               07:47:01

22    implication of this project on display ads             07:47:03

23    either, just Google Search, Maps,                      07:47:06

24    Assistant.     Those -- those front ends.              07:47:10

25         Q.      And, again, there's nothing here          07:47:13

                                                             Page 260

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